These are proceedings in review by different parties assailing an award in favor of dependents of one Louis Cervantes, who on April 9, 1918, was fatally injured *Page 785 
while in the course of his employment, his injury resulting in death the same day.
The work in which he was engaged at the time of his injuries is described in the opinion this day filed in Worswick StreetPav. Co. v. Industrial Acc. Com., and The Employers' LiabilityAssur. Corp. v. Industrial Acc. Com. et al., ante, p. 550, [185 P. 953], the deceased being a coworker with Selso Morales in the work therein described. The questions presented for determination are the same as those presented in the case referred to. The decision in those cases controls here.
It is ordered that the award of the commission be annulled in so far as it is against the Employers' Liability Assurance Corporation, and that in all other respects the said award be, and the same is, hereby affirmed.
All the Justices concurred.